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 Attorneys for Centurion of Idaho, LLC

                            UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO


 MICHAEL T. HAYES,

                    Plaintiff,                    Case No. 1:22-CV-00184-REP

 v.
                                                  MEMORANDUM IN SUPPORT OF
 IDOC; RONA SIEGERT; CPL. GARCIA;                 MOTION TO QUASH SERVICE OF
 CENTURION MEDICAL;                               PROCESS AND DISMISS

                    Defendants


        Centurion of Idaho, by and through its counsel of record, Gjording Fouser PLLC, hereby

submits this memorandum in support of Centurion of Idaho’s Motion to Quash and Dismiss.

                                  FACTUAL BACKGROUND

        Plaintiff filed his Complaint on April 25, 2022 [Dkt. 1]. On September 8, 2022, this Court

entered its Initial Review Order by Screening Judge [Dkt. 6], which stated in part that:

               Plaintiff will be responsible for serving a summons and the
               Complaint upon Defendants by formal service of process or by
               obtaining signed waivers of service of summons from each
               Defendant or their counsel. Plaintiff must do so within 90 days. If
               he does not, his claims against unserved Defendants will be


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                  dismissed without prejudice, after notice to Plaintiff. See Fed. R.
                  Civ. P. 4(m).

Dkt. 6, at 16. According to Rule 4(m), Plaintiff was required to serve Defendants by December 7,

2022.

         On September 16, 2022, Plaintiff filed a Request for Issuance of Summons [Dkt. 8]. On

September 20, 2022, this Court denied Plaintiff’s request in part, stating again that “[t]he Court

reminds Plaintiff that if any Defendant does not waive service, Plaintiff alone is responsible for

effecting formal service of process upon them, as set forth in the Initial Review Order.” Dkt. 9.

This Court did, however, provided Plaintiff three copies of a Notice of a Lawsuit and Request to

Waive Service of Summons. Id. Plaintiff did not send a Request to Waive Service of Summons to

Defendant Centurion. See Dkt. 11.

         On December 7, 2022, and once again on December 16, 2022, Plaintiff requested issuance

of a summons and for an extension of Plaintiff’s deadline to accomplish service. Dkt. 17. Plaintiff

requested issuance of a summons and stated that Centurion Health Services was to be served at

8517 W. Overland Road, Boise, ID 83709. On December 19, 2022, this Court ordered that the

United States Marshals serve Defendant Centurion at the address provided by Plaintiff. Dkt. 21.

The Court did not directly address Plaintiff’s request for an extension of time. Id.

         On December 21, 2022, U.S. Marshals purported to serve “Centurion Medical” at the

Overland address. According to the process receipt and return, Renee Cariaga was provided with

the summons. 1 Dkt. 23.




1
 The process receipt and return refers to Ms. Cariaga as an administrative assistant, but Ms. Cariaga’s proper title is
office manager.

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         Presumably, Plaintiff was attempting to serve Centurion of Idaho, LLC. Centurion of Idaho

does operate an office at the address provided by Plaintiff, but no person at that address is

authorized to accept service on behalf of Centurion of Idaho. Decl. of Renee Cariaga, ¶ 6. Instead,

Centurion of Idaho’s registered agent is C T Corporation System, and the address of that registered

agent is 1555 W. Shoreline Drive, Suite 100, Boise, ID 83702. 2

                                             LEGAL STANDARD

         Federal Rule of Civil Procedure 12(b)(5) is the proper vehicle for challenging the

insufficiency of service of process. Likewise, a court may dismiss a claim for lack of personal

jurisdiction. Fed. R. Civ. P. 12(b)(2). These two rules work together, as a court lacks jurisdiction

over a party who has not been properly served. 3

         Under Rule 4(m), meanwhile, it is a plaintiff's duty to serve each defendant in the case

within 90 days after filing the complaint or request a waiver or service under Rule 4(d). Service

upon a corporation (as Plaintiff is attempting to do here) must conform with Rule 4(h), which

provides that:

                  (h) Serving a Corporation, Partnership, or Association. Unless
                  federal law provides otherwise or the defendant's waiver has been
                  filed, a domestic or foreign corporation, or a partnership or other
                  unincorporated association that is subject to suit under a common
                  name, must be served:

                  (1) in a judicial district of the United States:

                  (A) in the manner prescribed by Rule 4(e)(1) for serving an
                  individual; or



2
 See https://sosbiz.idaho.gov/search/business (accessed January 11, 2023).
3
 See Direct Mail Specialists, Inc. v. Eclat Computerized Techs., Inc., 840 F.2d 685, 688 (9th Cir. 1988); Earle v.
McVeigh, 91 U.S. 503, 509, 23 L. Ed. 398 (1875); Aetna Bus. Credit, Inc. v. Universal Decor & Interior Design, Inc.,
635 F.2d 434, 435 (5th Cir. 1981) (“In the absence of valid service of process, proceedings against a party are void.”).

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               (B) by delivering a copy of the summons and of the complaint to
               an officer, a managing or general agent, or any other agent
               authorized by appointment or by law to receive service of
               process and--if the agent is one authorized by statute and the statute
               so requires--by also mailing a copy of each to the defendant; or

               (2) at a place not within any judicial district of the United States, in
               any manner prescribed by Rule 4(f) for serving an individual, except
               personal delivery under (f)(2)(C)(i).

Fed. R. Civ. P. 4(h) (emphasis added).

        Generally, a plaintiff bears the burden of demonstrating proper service. Brockmeyer v.

May, 383 F.3d 798, 801 (9th Cir. 2004). “Courts require ‘substantial compliance with Rule 4’ and

if a plaintiff fails to substantially comply, a court lacks personal jurisdiction over

defendants.” Mendoza-Jimenes v. Bonneville Cnty., 2018 WL 3745818, at *3 (quoting Jackson v.

Hayakawa, 682 F.2d 1344, 1347 (9th Cir. 1982)). It is the Plaintiff’s obligation to provide the

correct service address to U.S. Marshall. Walker v. Sumner, 14 F.3d 1415, 1422 (9th Cir. 1994)

(overruled on other grounds by Sandin v. Conner, 515 U.S. 472, 483–84 (1995)); see also Lee v.

Armantrout, 991 F.2d 487, 489 (8th Cir. 1993) ("While in forma pauperis plaintiffs should not be

penalized for a marshal's failure to obtain proper service, it was [Plaintiffs] responsibility to

provide proper addresses for service ...."). Plaintiff is not proceeding in forma pauperis and is

solely responsible for effecting service in this matter. See Livingston v. Ugbor, 2019 WL 183538,

at *4 (S.D. Cal. Jan. 11, 2019).

                                           ARGUMENT

        Plaintiff has not effected service on Centurion of Idaho, LLC because Plaintiff provided

the Court with an incorrect address to serve Centurion. Plaintiff requested that the Court assist

Plaintiff with service, and the Court granted that request in its discretion. Fed. R. Civ. P. 4(c)(3).


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Plaintiff, however, provided information for an incorrect entity and at an address where no person

was authorized to receive service on behalf of Centurion of Idaho or any other Centurion entity.

The person served by the U.S. Marshals was Renee Cariaga, an office manager for Centurion. Ms.

Cariaga is not Centurion’s registered agent, a managing or general agent, or a person otherwise

authorized by appointment or law to receive service of process. Fed. R. Civ. P. 4(h); Decl. of Renee

Cariaga, ¶ 6. Accordingly, Plaintiff has failed to accomplish service, and this Court accordingly

lacks personal jurisdiction over Centurion of Idaho, LLC.

        Centurion of Idaho, LLC accordingly requests that this Court issue an order quashing

service and dismissing this matter with prejudice, as Plaintiff has not served Defendant Centurion

within the time limit proscribed by Rule 4(m) and this Court’s Initial Review Order [Dkt. 6].

                                         CONCLUSION

        For the foregoing reasons, Centurion of Idaho respectfully requests that this Court issue an

order quashing service of process and dismissing the claims against Defendant Centurion with

prejudice.

        DATED this 11th day of January, 2023.

                                              GJORDING FOUSER PLLC


                                              By     /s/ Eric W. Stokes
                                              Eric W. Stokes – Of the Firm
                                              Attorneys for Centurion of Idaho, LLC




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 11th day of January, 2023, that on such date I served

the foregoing on the following non-CM/ECF Registered Participants in the manner indicated:

 Michael T. Hayes (#20633)                        U.S. Mail, Postage Prepaid
 IMSI J-34                                        Hand Delivered
 P.O. Box 51                                      Overnight Mail
 Boise, ID 83707                                  Telecopy
 (Pro Se)                                         Email



                                                /s/ Eric W. Stokes
                                          Eric W. Stokes




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